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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF NEW YORK

CHRISTOPHER GODSON,                            )
on behalf of himself                           )
and all others similarly situated,             )      No. 1:11-cv-0764-EAW-HKS
                                               )
                    Plaintiff,                 )      CLASS ACTION
                                               )
                    v.                         )
                                               )
ELTMAN, ELTMAN & COOPER, P.C.,                 )
and LVNV FUNDING, LLC,                         )
                                               )
             Defendants.                       )


                                 Certificate of Service

      I, Jonathan R. Miller, an attorney, hereby certify that on September 21, 2018,

the foregoing documents were filed with the Clerk of the Court and served in

accordance with the Federal Rules of Civil Procedure, and/or the Western District’s

Local Rules, and/or the Western District’s Rules on Electronic Service upon the

following parties and participants:

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Dated: September 21, 2018

                                               /s/ Jonathan R. Miller
                                               Jonathan R. Miller
